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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  COMMITTEE ON THE JUDICIARY,
  UNITED STATES HOUSE OF
  REPRESENTATIVES,

                                 Plaintiff,
                                                                No. 19-cv-2379 (KBJ)
            v.

  DONALD F. MCGAHN II,

                                 Defendant.


                               JOINT SCHEDULING PROPOSAL

       On August 26, 2019, Plaintiff, the Committee on the Judiciary of the United States House

of Representatives, filed a Motion for Preliminary Injunction or, in the Alternative, for Expedited

Partial Summary Judgment. ECF No. 22. At the Court’s request, the parties have met and

conferred, and now propose the following:

       1.        Plaintiff requests that its motion be addressed as a Motion for Expedited Partial

Summary Judgment. Defendant intends to file a cross-motion for summary judgment.

       2.        The parties propose the following briefing schedule:

                    Defendant’s Opposition and Cross-Motion: Oct. 1, 2019, by 3 p.m.

                    Plaintiff’s Reply and Opposition: Oct. 16, 2019

                    Defendant’s Reply: Oct. 25, 2019

       3.        Plaintiff respectfully requests that the Court set argument on the parties’ cross-

motions during the week of Oct. 28, 2019, or as soon thereafter as practicable. Defendant takes

no position on Plaintiff’s request. The parties are available for argument any day during the
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week of Oct. 28, 2019, and would be happy to discuss additional availability during the

teleconference with the Court currently set for Sept. 3, 2019.

Dated: August 30, 2019                        Respectfully submitted,

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